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     Attorney for Defendant
7    JOSE SALVADOR SANCHEZ-PALOMINO
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9
                         IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA,       )      No. 2:09-cr-00094-MCE
14                                   )
                    Plaintiff,       )
15                                   )
          v.                         )      ORDER TO APPEAR
16                                   )
     JOSE SALVADOR SANCHEZ-PALOMINO, )
17                                   )      Date: October 18, 2010
                    Defendant.       )      Time: 9:00 a.m.
18                                   )      Judge: Hon. Morrison C. England Jr.
     _______________________________ )
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20
21        IT IS HEREBY ORDERED that witness DAGOBERTO BAUTISTA-LOPEZ appear
22   in this Court, at 501 I Street, 15th Floor, Sacramento, CA 95814 on
23   October 18, 2010 at 9:00 a.m. to testify in this case.          The Marshals
24   shall arrange for the transportation of witness DAGOBERTO BAUTISTA-
25   LOPEZ for that hearing and shall pay for such transportation pursuant
26   to 28 U.S.C. § 1821.
27   //
28   //
          Case 2:09-cr-00094-MCE Document 100 Filed 10/15/10 Page 2 of 2


1         The Clerk of the Court shall serve this order forthwith on the
2    U.S. Marshal Service.
3
     Dated: October 15, 2010
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5                                        _____________________________
                                         MORRISON C. ENGLAND, JR.
6
                                         UNITED STATES DISTRICT JUDGE
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